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                      DECLARATION OF ROBERT LEWIS FRANCIS

Robert L. Francis hereby states pursuant to the provisions of 28 U.S.C. § 1746 as follows:

   1. I am over 18 years of age and competent to provide this declaration. This declaration is

       based on my personal knowledge, information, and belief.

   2. I am a member of the American Federation of State, County Municipal Employees

       (AFSCME), Local 3800, AFL-CIO (“Local 3800”), which is part of AFSCME Minnesota

       Council 5. Local 3800 is an affiliate of the American Federation of State, County and

       Municipal Employees, AFL-CIO (“AFSCME International”).

   3. I have previously held office in my local union, most recently serving as Vice President

       of Organizing in 2020. I do not hold office within the union currently.

   4. Local 3800 represents approximately 1,500 University of Minnesota Clerical Workers

       across all campuses of the University of Minnesota. My brothers and sisters in the union

       include clerical and library staff, including library technicians, and we also have technical

       staff that cover a broad range of jobs from low voltage electricians to sign language

       interpreters to staff that work in the stables of the University’s equine facility.

   5. I am Library Assistant within the Minitex Resource Sharing unit that supports the Health

       Sciences Library at the University Minnesota Twin Cities. I have worked for Minitex for

       approximately 13 years.

   6. I have worked at the University of Minnesota for approximately 16 years, first as a

       student library and reference assistant and then as a full-time library assistant with

       Mintiex after I graduated from the University of Minnesota Twin Cities myself.
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7. I hold a bachelor’s degree in Studio Art and American History. While it is not a

   requirement of our jobs, many of my Minitex library colleagues at the University also

   hold graduate degrees in library and informational sciences.

8. Minitex is a publicly funded library consortium of the Minnesota Office of Higher

   Education and the University of Minnesota Libraries.

9. Minitex collaborates with Minnesota’s entire library community, including students,

   residents, and library networks in South Dakota, North Dakota, and Wisconsin to provide

   quality library resources that benefit Minnesotans across the state. The mission of

   Minitex is to strengthen libraries, cultural institutions, and the communities they serve.

10. Minitex services libraries at all levels, including higher education, K-12 schools, public

   libraries, and cultural heritage organizations, through access to research databases,

   interlibrary loan, delivery services, and continuing education.

11. Most public and academic libraries in Minnesota participate in Minitex’s online portal,

   MNLINK.org, which makes it possible for library patrons to access a combined catalog

   of 10 million items.

12. Minitex also administers “eLibrary Minnesota,” which is a database of education and

   research resources ranging from encyclopedias to newspaper articles and journals to

   multimedia and primary sources. Minitex reports that eLibrary was searched 55 million

   times last year.

13. Through Minitex, most Minnesota K-12 schools can access “EbooksMN.org,” a

   statewide ebook collection of 10,000 books that Minnesota schools can make available to

   their students at no cost.
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14. Minitex is integral in the preservation of priceless historical content from Minnesota’s

   cultural heritage in the “Minnesota Digital Library.” The Minnesota Digital Library

   contains 60,000 historical items that have been sourced from historical societies, libraries,

   archives, and cultural organizations across Minnesota. These artifacts, like recordings of

   interviews with past generations, play a critical role in preserving and honoring the social

   history of the state.

15. Minitex has served Minnesota libraries for over 50 years and ensures that all

   Minnesotans—regardless of class or geographic location in the state—have access to

   high-quality library resources. The library consortium connects libraries across states and

   overall promotes resource and knowledge sharing that Minnesotans rely on.

16. As a Library Assistant, I am responsible for the processing of U Interlibrary Loan

   Requests at the University of Minnesota Health Sciences Library. My duties involve

   pulling books and literary materials from our shelves and shipping them to libraries

   within our consortium. I also create digital versions of books, chapters, and articles for

   delivery to requesting libraries or individuals.

17. Part of my work as a Library Assistant includes delivering medical texts and articles to

   other medical schools, hospital libraries, or directly to a requesting doctor or physician.

18. I am also part of the team that handles “Urgent Patient Care Rush Requests,” which are

   emergency requests received from doctors and surgeons for a medical article or text that

   they need, sometimes even during surgical procedures. I help ensure that we digitize and

   deliver the requested medical materials within our target delivery time of 15 minutes.

19. Minitex employs 56 full time staff across the University of Minnesota Twin Cities. Of

   those, roughly 30 full time employees work in the Resource Sharing Unit.
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20. Since 2014, Minitex has experienced approximately 36% staff reductions. As a result, we

   have already been operating with less than a full complement of staff.

21. I am the only full-time employee staffed to the interlibrary loan and delivery program at

   the Health Science Library and only count on the support of one student employee who

   works 12 hours per week during the semester.

22. Minitex relies on funding from the Institute of Museum and Library Services (IMLS) in

   the form of Library Service and Technology Act (LSTA) grants to maintain operations at

   the University of Minnesota Twin Cities. We have been told by Minitex management that

   Minitex receives $1.15 million in ILMS funding for Resource Sharing, $80,000 for

   eLibrary Minnesota instruction, and additional funding for special projects.

23. On March 17, 2025, we received an all-staff email from Maggie Snow, Minitex Director,

   through our staff platform called Minitex Notes. Director Snow informed us that due to

   the White House’s executive order announcing an intent to eliminate most of the IMLS,

   Minitex would experience a significant loss of funding because of lost IMLS grants.

   According to Director Snow, “The loss of these funds, which could impact the Minitex

   budget as soon as July 1, would lead to a reduction in Minitex’s services and staffing.”

24. It is my understanding that Minitex’s budget is based on a fiscal year, which ends on June

   30, 2025. Presently, funding beyond that date is uncertain due in large part to the loss of

   IMLS grants.

25. On March 31, 2025, Director Snow again emailed staff through Minitex Notes to say that

   Minitex has heard reports of large portions of IMLS grants being, “cancelled,” and that

   while “Our Special Projects grants [] [was] scheduled to start [] [April 1, 2025],” we

   should “not start spending funds” until we received confirmation of the IMLS cuts from
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   the Minnesota Department of Education. We are being told not to use funding we have in

   anticipation of IMLS funding cuts.

26. To date, no legislation or resolution has been passed or implemented that would bridge

   the more than $1.15 million gap that Minitex faces without IMLS funding.

27. As a former vice president of organizing for my local union, and with 13 years of

   experience working for Minitex, I have a deep understanding of the different jobs and

   classifications within our bargaining unit, the costs associated with retaining employees

   at Minitex, and the general fiscal health and budget of the library. Based on that

   knowledge—and the fact that Minitex management has been clear that IMLS funding

   cuts will be made up through service and staffing reductions—I estimate that ten (10) of

   my Minitex colleagues will be laid off, including possibly myself. In no uncertain terms,

   without the IMLS funding, my job is on the line. Losing roughly ten Minitex Resource

   Sharing unit jobs, out of 30 existing positions, would be a major blow to our library

   system and, by extension, the library services Minnesotans depend on.

28. Our Local 3800 collective bargaining agreement (“CBA”) is set to expire on June 30,

   2025. The CBA calls for wage increases that typically go into effect at the end of the

   fiscal year and on October 1. During negotiation cycles in prior years, Local 3800

   engaged in negotiations for a new contract with the University of Minnesota in the fall—

   after the CBA expired—and we would ratify the new CBA in the early part of the

   following year. We would then get our wage increases as back pay.

29. With the loss of IMLS funding, we do not know if we will keep our jobs, let alone

   receive expected wage increases.
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